                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

    CASA DE MARYLAND, INC. et al.,

           Plaintiffs,

     v.                                                            Civil No. 20-2118-PX

    CHAD F. WOLF, et al.,

           Defendants.



                           NOTICE OF SUPPLEMENTAL AUTHORITY

          Defendants hereby notify the Court of a published Fourth Circuit decision, Casa De

Maryland, Inc. et al v. Trump, No. 19-2222 1, decided on August 5, 2020, two days after Defendants

filed their response in opposition to Plaintiffs’ motion for preliminary injunction. The Fourth Circuit

reversed the District Court’s decision issuing a nationwide injunction of a Department of Homeland

Security rule promulgated under the Immigration and Nationality Act. In reversing, the panel held,

in part, that: (1) CASA de Maryland, Inc. (“CASA”), also the lead Plaintiff in the above-captioned

action, does not have Article III organizational standing to challenge the administrative rule; (2)

CASA did not establish that it would be irreparably harmed in the absence of an injunction; (3) the

public’s interests were not outweighed by the individuals’; and (4) the nationwide injunction was

plainly improper.

          Defendants would be pleased to provide additional briefing upon the Court’s request.

                                                               Respectfully submitted,

                                                               ROBERT K. HUR
                                                               United States Attorney

1
 A copy of the decision is available on the United States Court of Appeals for the Fourth Circuit’s website at
https://www.ca4.uscourts.gov/opinions/192222.P.pdf
                                                          1
         Jane E. Andersen       /s/
    Jane E. Andersen (Bar No: 802834))
    Assistant United States Attorney
    6500 Cherrywood Lane, Suite 200
    Greenbelt, MD 20770
    (301) 344-4422
    Jane.Andersen@usdoj.gov




2
